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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

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In re:                                                           : Chapter 7
                                                                 :
UBIOME, INC.,1                                                   : Case No. 19-11938 (LSS)
                                                                 :
                           Debtor.                               :
                                                                 :
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                             NOTICE OF FILING OF FEE APPLICATION

        PLEASE TAKE NOTICE the First and Final Application for Compensation and
Reimbursement of Expenses of Elise S. Frejka, for Services Rendered as Consumer Privacy
Ombudsman (the “Application”) has been filed with the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”).

       PLEASE TAKE FURTHER NOTICE that the Application seeks a final allowance and
approval of fees in the amount of $17,403.75 and reimbursement of actual and necessary
expenses in the amount of $616.13.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application are to
be filed on or before March 4, 2022 at 4:00 p.m. (Prevailing Eastern Time) (the “Objection
Deadline”) with the Clerk of United States Bankruptcy Court for the District of Delaware, 3rd
Floor, 824 Market Street, Wilmington, Delaware 19807 and served so as to be received by the
following or or before the Objection Deadline: (i) Frejka PLLC, 415 East 52nd Street, Suite 3,
New York, NY 10022, Attn: Elise S. Frejka (efrejka@frejka.com); (ii) counsel to the chapter 7
Trustee, Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, Wilmington, DE
19081 (Courier 19801), Attn: Bradley J. Sandler (bsandler@pszjlaw.com); and (iii) the Office of
the United States Trustee, J. Caleb Boggs Federal Building, 844 N. King Street, Suite 2207,
Lock Box 35, Wilmington, DE 19801, Attn: Benjamin A. Hackman
(benjamin.a.hackman@usdoj.gov).

       PLEASE TAKE FURTHER NOTICE that, a hearing to consider the relief sought in
the Application will be held via Zoom Videoconferencing on March 17, 2022 at 3:30 PM
(Prevailing Eastern Time) before the Honorable Laurie Selber Silverstein, United States
Bankruptcy Judge, at the United States Bankruptcy Court for the District of Delaware, 824 N.
Market Street, 5th Floor, Courtroom 2, Wilmington, Delaware 19801.


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    The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The headquarters
    for the above-captioned Debtor is located at 360 Langton Street, Suite 301, San Francisco, CA 94103.
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    PLEASE TAKE FURTHER NOTICE THAT, IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE, THEN THE COURT MAY GRANT THE RELIEF
REQUESTED BY THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

Dated: New York, New York
       February 8, 2022
                                           FREJKA PLLC

                                           /s/ Elise S. Frejka
                                           Elise S. Frejka, CIPP/US
                                           FREJKA PLLC
                                           415 East 52nd Street | Suite 3
                                           New York, NY 10022
                                           Phone: 212-641-0800
                                           Facsimile: 212-641-0820
                                           Consumer Privacy Ombudsman




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